                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION


VetBridge Product Development Subsidiary I
(NM-OMP), LLC,

                       Plaintiff,
                                                    Civil Action No. 5:18-cv-06147-BCW
               v.

NewMarket Pharmaceuticals, LLC,

                       Defendant.


NewMarket Pharmaceuticals, LLC,

                       Third-Party Plaintiff,

               v.

VetPharm, Inc.,

                       Third-Party Defendant.


                        DECLARATION OF DOUGLAS A. FOSS

       Douglas A. Foss, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury that

the following is true and correct:

       1.      I am an attorney licensed to practice law in the State of New York and I represent

third-party defendant VetPharm, Inc. (“VetPharm”) in this action. My motion for admission pro

hac vice is pending before the Court.

       2.      I make this declaration in support of VetPharm’s motion to dismiss the third-

party complaint. This declaration is based on my personal knowledge as counsel for VetPharm

in this action and in a related action pending before the United States District Court for the




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District of New Jersey, captioned NewMarket Pharmaceuticals, LLC v. VetPharm, Inc. et al.,

Civil Action No. 17-cv-01852 (the “New Jersey Action”).

        3.     As shown by the documents attached to this declaration, Judge Shipp in the New

Jersey Action twice ordered NewMarket to arbitrate its claims against VetPharm. NewMarket

has attempted to frustrate that arbitration process by refusing to pay its one-half share of the

arbitrator’s fees and making serial requests to Judge Shipp to intervene in the arbitration. Judge

Shipp has repeatedly declined to do so.

        4.     Attached as Exhibit 1 is a true and correct copy of the CM/ECF docket sheet in

the New Jersey Action.

        5.     Attached as Exhibit 2 is a true and correct copy of the Order entered by the

Honorable Michael A. Shipp, U.S. District Judge, in the New Jersey Action on April 5, 2017.

        6.     Attached as Exhibit 3 is a true and correct copy of the Order entered by the

Honorable Michael A. Shipp, U.S. District Judge, in the New Jersey Action on December 13,

2018.

        7.     Attached as Exhibit 4 is a true and correct copy of a letter to Judge Shipp from

NewMarket’s local counsel in the New Jersey Action, Joel A. Pisano, dated February 11, 2019.

        8.     Attached as Exhibit 5 is a true and correct copy of a letter to Judge Shipp from

VetPharm’s local counsel in the New Jersey Action, Kelly Jones Howell, dated February 13,

2019, and the exhibit thereto.

        9.     Attached as Exhibit 6 is a true and correct copy of a letter to Judge Shipp from

Mr. Pisano, dated February 27, 2019.

        10.    Attached as Exhibit 7 is a true and correct copy of a letter to Judge Shipp from

Ms. Howell, dated February 28, 2019.




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       11.    Attached as Exhibit 8 is a true and correct copy of a letter to Judge Shipp from

Mr. Pisano dated April 11, 2019.

       12.    Attached as Exhibit 9 is a true and correct copy of a letter to Judge Shipp from

Ms. Howell dated April 12, 2019.

       13.    For the reasons set forth in accompanying suggestions, VetPharm respectfully

requests that the Court dismiss NewMarket’s third-party complaint.

Executed on April 29, 2019.



                                                          _____________________________
                                                                  Douglas A. Foss




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